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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 DONNA CURLING, et al.

           Plaintiffs,
                                               CIVIL ACTION
 v.
                                               FILE NO. 1:17-CV-2989-AT
 BRAD RAFFENSPERGER, et al.,

           Defendants.


CONFIDENTIALITY AGREEMENT REGARDING COURT-ORDERED
                SOFTWARE INSPECTION

          The Court’s Order (Docket No. 1745) allows Defendants to proceed with

an inspection of data underlying Dr. Halderman’s July 2021 Expert Report

(the “Software”) pursuant to the Court’s orders (Docket Nos. 1745, 1749) on

this issue. The Court directed the inspection will be governed by the protocol,

attached hereto as Exhibit A (the “Protocol”), “except that the Court will

allow up to two business days for the inspection,” and the parties must

execute a confidentiality agreement concerning the inspection. Curling

Plaintiffs and Defendants hereby agree to the following regarding

confidentiality concerning the Court-ordered inspection:




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                1. The Software will be made available for inspection on January 4,

     2024 from 8:30 am to 7:00pm at the University of Michigan in accordance

     with the Protocol.

                2. The Software will be made available for inspection by James

     Persinger, Nick Ikonomakis, and Bryan Tyson (collectively, the

     “Reviewers”) in accordance with the Protocol.

                3. All information accessed, obtained, or otherwise viewed during

     the inspection of the Software, and all information and materials derived

     from any such inspection, including without limitation any notes,

     (collectively the “Inspection Material”) shall be accessible by, discussed

     with, and available to only (i) individuals who already were allowed access

     to the Software prior to the inspection; (ii) the Reviewers; and (iii) no more

     than three (3) additional attorneys at Taylor English Duma LLP and/or

     Robbins Alloy Belinfante Littlefield LLC who have entered appearances in

     this case prior to the date of this Agreement and are directly involved in

     the preparation of the cross-examination of Dr. Halderman for the trial in

     this matter (each a “Receiving Party”), provided that each Receiving Party

     must comply with Sections 4 and 5 of this Agreement before accessing,

     obtaining, or discussing any Inspection Material. No Reviewer or

     Receiving Party shall disclose information obtained during the inspection



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     to any other Receiving Party without personally confirming that the

     Receiving Party complied with Sections 4 and 5 of this Agreement.

                4. Each of the Reviewers and each Receiving Party must physically

     sign an Agreement to be Bound (attached hereto as Exhibit B) by the

     terms of this Agreement as well as the terms of the Protective Order (Doc.

     477) prior to viewing, obtaining, or discussing any Inspection Material.

                5. Each executed Agreement to be Bound shall be provided to

     Curling Plaintiffs’ counsel and the Court via email to Curling Plaintiffs’

     counsel and Harry Martin.


          Agreed this 29th day of December, 2023.


                                         ___________________________
                                         For Curling Plaintiffs


                                         ___________________________
                                         For Defendants




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                                     Exhibit A


                         {Plaintiffs Inspection Protocol}




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
       v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.




             CURLING PLAINTIFFS’ PROPOSED PROTOCOL
                  FOR SOURCE CODE INSPECTION

      Pursuant to the Court’s December 13, 2023 Sealed Order Plaintiffs submit

the following proposed protocol for inspection of the vote-changing software

developed by Drs. Alex Halderman and Drew Springall and discussed in Dr.

Halderman’s July 2021 Expert Report. If the Court orders inspection of that

software, the software shall be made available for inspection, in source code form,

only to [SPECIFIC NAME] (“Reviewer”) at a facility of Dr. Halderman’s

choosing located at the University of Michigan in Ann Arbor, Michigan, under the

following conditions:

      1.    The source code files shall be placed on a password-protected laptop

computer (the “Inspection Computer”) in a secure, non-networked, non-Internet-



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accessible environment configured by Dr. Halderman or someone at his direction

for the inspection.

      2.     The Reviewer will be allowed supervised access during regular

business hours, upon 48 hours’ notice, on December 19 or 20, 2023.

      3.     Any inspection by the Reviewer at all times will be supervised by a

Plaintiff representative and videotaped.

      4.     The Reviewer will not be permitted to bring any electronic equipment

of any kind into the inspection review room.

      5.     The Reviewer will not be permitted to introduce any software or files

onto the Inspection Computer.

      6.     The Reviewer will not be permitted to connect any hardware or other

device to the Inspection Computer, whether directly or indirectly.

      7.     The Reviewer will not be permitted to alter, modify, add, or delete

any files on the Inspection Computer, or otherwise copy any files or source code in

any form, including in notes, photographs, recordings, or otherwise, except through

the means provided in the following paragraph.

      8.     The Reviewer may request paper copies of discrete, limited portions

of source code from the Inspection Computer by (i) identifying specific, narrow

portions for Drs. Halderman and Springall; and (ii) showing with specificity how

each requested portion is essential for use at trial. Plaintiffs may object to any such


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request. The Court will resolve any such objections without accessing or

reviewing any of the source code and will order any requested portions of the code

produced only upon Defendants clearly and convincingly establishing that each

requested portion of the code is essential for their defense at trial. Should the

Court find that Defendants met their burden and order any requested source code

produced, Dr. Halderman will provide any such code directly and only to the Court

under seal.

      9.      The Reviewer must make copies of all notes taken during the review

and leave a copy of those notes with Plaintiffs’ representative before leaving the

inspection facility.

      10. Any information derived from the inspection governed by this protocol

shall be Attorney’s Eyes Only, and subject to the protections of the Protective

Order in this case.



      Respectfully submitted this 15th day of December, 2023.

/s/ David D. Cross                             /s/ Halsey G. Knapp, Jr.
David D. Cross (pro hac vice)
Mary G. Kaiser (pro hac vice)
Matthaeus Martino-Weinhardt
(pro hac vice)
Ramsey Fisher (pro hac vice)
Aaron Scheinman (pro hac vice)
Benjamin Campbell (pro hac vice)



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                                         /s/ Christian G. Andreu-von Euw
                                         Christian G. Andreu-von Euw
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   Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg




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              IN THE UNITED STATES DISTRICT COURT
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DONNA CURLING, ET AL.,
Plaintiffs,
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v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ David D. Cross
                                            David D. Cross




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              IN THE UNITED STATES DISTRICT COURT
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DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER , ET AL.,
Defendants.

                        CERTIFICATE OF SERVICE

      I hereby certify that on December 15, 2023, a copy of the foregoing

PLAINTIFFS’ PROPOSED PROTOCOL was emailed to the Court’s Deputy

Clerk, Mr. Harry Martin, and counsel for Plaintiffs and Defendants, as directed by

the Court in its December 13, 2023 Order.

                                            /s/ David D. Cross
                                            David D. Cross




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Exhibit B: Acknowledgment And Agreement To Be Bound




              IN THE UNITED STATES DISTRICT COURT
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DONNA CURLING, et al.

        Plaintiffs,
                                                      CIVIL ACTION
 v.
                                                      FILE NO. 1:17-CV-2989-AT
 BRAD RAFFENSPERGER, et al.,

        Defendants.


        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       The undersigned hereby acknowledges that he/she has read the

Confidentiality Agreement Regarding Court-Ordered Software Inspection

dated December 29, 2023 (the “Agreement”), ”), has had an opportunity to

consult with counsel, and understands the terms thereof, and agrees to be

bound by its terms. The undersigned further acknowledges that he/she agrees

to be bound by the Protective Order dated July 11, 2019 in the above-

captioned action (Doc. No. 477). The undersigned submits to the jurisdiction

of the United States Court for the Northern District of Georgia (the “Court”)

in matters arising out of or relating to the Agreement, the terms of which

shall be fully enforceable by the Court to the fullest extent of the Court’s

power and authority to enforce any order under the Federal Rules, the

Court’s inherent authority, and any other power or authority vested in the

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Court at law or in equity. The undersigned acknowledges that violation of the

Agreement may result in penalties for contempt of court or any other penalty

otherwise imposed by the United States District Court for the Northern

District of Georgia.



Signed: _____________________ by _________________________ (print name)

Business Address: ___________________________________________________

Date: ____________________




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